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   1     LAWRENCE P. GRASSINI — Cal. SBN 49046
         MARSHALL J. SHEPARDSON — Cal. SBN 263637
   2     GRASSINI, WRINKLE & JOHNSON
         20750 Ventura Boulevard, Suite 221
   3     Woodland Hills, CA 91364-6235
         Tel: (818) 348-1717
   4     Fax: (818) 348-7921
         Email: mail@grassinilaw.com
   5
         Attorneys for Plaintiffs
   6

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   8                          UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10     D.F., a minor, by and through his
         Guardian Ad Litem, TASHINA
  11     AMADOR, individually and as
         successor in interest to Alexis
  12     Fontalvo, deceased, and                     Case No.: 3:13-cv-00331-GPC-KSC
         T.L., a minor, by and through her
  13     Guardian Ad Litem, TASHINA
         AMADOR,                                     Judge: Hon. Gonzalo P. Curiel
  14
                            Plaintiffs,
  15                                                 CERTIFICATE OF SERVICE
               vs.
  16
         SIKORSKY AIRCRAFT
  17     CORPORATION; SIKORSKY
         SUPPORT SERVICES, INC.;
  18     UNITED TECHNOLOGIES
         CORPORATION; G.E. AVIATION
  19     SYSTEMS, LLC; DUPONT
         AEROSPACE CO.; E.I. DUPONT DE
  20     NEMOURS AND COMPANY;
         PKL SERVICES, INC.; and
  21     DOES 1 through 100, Inclusive
  22                  Defendants.
  23

  24     STATE OF CALIFORNIA                    )
                                                )      ss.
  25     COUNTY OF LOS ANGELES                  )
  26            I practice in the county of Los Angeles, State of California. I am over the age
         of 18 and am not a party to the within action. My business address is 20750 Ventura
  27     Boulevard, Suite 221, Woodland Hills, CA 91364-6235.
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          CERTIFICATE OF SERVICE                             CASE NO. 3:13-CV-00331-GPC-KSC
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                On March 29, 2018, I served the foregoing documents described as
   1     PLAINTIFFS’ OMNIBUS OPPOSITION TO DEFENDANTS’ THIRTY-
         EIGHT (CONERVATIVELY) MOTIONS IN LIMINE on the interested party
   2     or parties in this action by delivering a true copy thereof as follows:
   3                              SEE ATTACHED SERVICE LIST
   4     [ ]    BY MAIL by placing a true copy thereof enclosed is a sealed envelope in a
                designated area for outgoing mail, addressed as set forth below. At Grassini
   5            & Wrinkle, mail placed in that designated area is given the correct amount of
                postage and is deposited that same day, in the original course of business, in
   6            a United States mailbox in Woodland Hills, California.
   7     [X ]   BY CM/ECF SYSTEM: I caused to be electronically filed a true and correct
                copy of the above-entitled document(s) with the Clerk of the Court using Case
   8            Management/Electronic Case filing (CM/ECF) which will send notification
                that such filing is available for viewing and downloading to all counsel on
   9            record electronically as required by the Court on this matter, addressed as per
                the attached service list.
  10
         []     BY FEDERAL EXPRESS by depositing a true copy thereof in a sealed packet
  11            for overnight delivery, with charges thereon fully prepaid, in a Federal
                Express collection box, in Woodland Hills, California and addressed as set
  12            forth below.
  13     []     BY FACSIMILE TRANSMISSION by transmitting said document(s) from
                our office facsimile machine (818)348-7921 which complies with California
  14            Rules of Court, Rule 2003(3), to a facsimile machine number(s) shown below.
                Following transmission, I received a “Confirmation Report” from our fax
  15            machine that the transmission had been transmitted without error.
  16            Executed on March 29, 2018, at Woodland Hills, California.
  17            I declare under penalty of perjury under the laws of the United States that the
         above is true and correct and that I am a member of the bar of the U.S. District Court
  18     for the Southern District of California.
  19

  20                                                 s/ Marshall J. Shepardson
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           CERTIFICATE OF SERVICE                          CASE NO. 3:13-CV-00331-GPC-KSC
Case 3:13-cv-00331-GPC-KSC Document 247-3 Filed 03/29/18 PageID.13871 Page 3 of 3



                                             SERVICE LIST
   1
                     Dominic Fontalvo v. Sikorsky Aircraft Corporation, et al.
   2                       UCSD Case No. 3:13-cv-00331-GPC-KSC
   3

   4     James W. Hunt
         Christopher S. Hickey
   5     FITZPATRICK & HUNT,
         TUCKER, PAGANO, AUBERT, LLP
   6
         633 West Fifth Street, 60th Floor
   7     Los Angeles, CA 90071
         Tel.: (213) 873-2100
   8     Fax.: (213) 873-2125 Fax
   9     james.hunt@fitzhunt.com
         christopher.hickey@fitzhunt.com
  10

  11     Jesse F. Ruiz – SBN 77984
         MESSNER REEVES LLP
  12     160 W. Santa Clara Street, Suite 1000
  13
         San Jose, CA 95113.
         PH: 408-298-7120
  14     FX: 408-298-0477
         jruiz@messner.com
  15

  16     ATTORNEYS FOR DEFENDANTS SIKORSKY AIRCRAFT
         CORPORATION; SIKORSKY SUPPORT SERVICES, INC.; and UNITED
  17
         TECHNOLOGIES CORPORATION
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          CERTIFICATE OF SERVICE                        CASE NO. 3:13-CV-00331-GPC-KSC
